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CO 526 Rev. 3/2010

UNITED STATES DISTRICT AND BANKRUPTCY COURTS
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA )
)
Vs. ) Criminal Case No.: 21-CR-3 (RCL)
)
JACOB ANTHONY CHANSLEY
)
WAIVER OF TRIAL BY JURY

With the consent of the United States Attorney and the approval of the Court, the defendant

waives his right to trial by jury.

I consent:

VEGALM

Assistant United States attomey

Approved:

“Cope 0. Ladi

United States District Judge

Ko

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Defendant . |

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Counsel for Defendant

Date: 4/s / 24
